                           UNITED STATES OF AMERICA
                        MERIT SYSTEMS PROTECTION BOARD

     DARIN YOUNG,                                    DOCKET NUMBER
                         Appellant,                  CH-1221-23-0180-W-1

                  v.

     DEPARTMENT OF VETERANS                          DATE: August 23, 2024
       AFFAIRS,
                 Agency.



             THIS FINAL ORDER IS NONPRECEDENTIAL 1

           Darin Young , Fairborn, Ohio, pro se.

           Amber Groghan , Akron, Ohio, for the agency.

                                           BEFORE

                                Cathy A. Harris, Chairman
                             Raymond A. Limon, Vice Chairman
                                Henry J. Kerner, Member*

           *Member Kerner did not participate in the adjudication of this appeal.

                                       FINAL ORDER

¶1         The appellant has filed a petition for review of the initial decision, which
     dismissed his appeal as withdrawn. Generally, we grant petitions such as this one
     only in the following circumstances:        the initial decision contains erroneous
     findings of material fact; the initial decision is based on an erroneous

     1
        A nonprecedential order is one that the Board has determined does not add
     significantly to the body of MSPB case law. Parties may cite nonprecedential orders,
     but such orders have no precedential value; the Board and administrative judges are not
     required to follow or distinguish them in any future decisions. In contrast, a
     precedential decision issued as an Opinion and Order has been identified by the Board
     as significantly contributing to the Board’s case law. See 5 C.F.R. § 1201.117(c).
                                                                                         2

     interpretation of statute or regulation or the erroneous application of the law to
     the facts of the case; the administrative judge’s rulings during either the course of
     the appeal or the initial decision were not consistent with required procedures or
     involved an abuse of discretion, and the resulting error affected the outcome of
     the case; or new and material evidence or legal argument is available that, despite
     the petitioner’s due diligence, was not available when the record closed. Title 5
     of the Code of Federal Regulations, section 1201.115 (5 C.F.R. § 1201.115).
     After fully considering the filings in this appeal, we conclude that the petitioner
     has not established any basis under section 1201.115 for granting the petition for
     review. Therefore, we DENY the petition for review and AFFIRM the initial
     decision, which is now the Board’s final decision. 5 C.F.R. § 1201.113(b).

                                      BACKGROUND
¶2         The appellant was employed as a Housekeeping Aid Supervisor at the
     agency’s Dayton, Ohio VA Medical Center. Initial Appeal File (IAF), Tab 1 at 7,
     16, Tab 6 at 4. On February 9, 2023, the appellant filed this individual right of
     action (IRA) appeal, alleging that the agency took several personnel actions
     against him in reprisal for his protected whistleblower activity.       IAF, Tab 1
     at 3-5.
¶3         The administrative judge issued jurisdictional orders in which he apprised
     the appellant of the applicable law and burden of proof requirements for an IRA
     appeal and ordered him to submit evidence and argument establishing Board
     jurisdiction, IAF, Tabs 3, 12, to which the appellant responded, IAF, Tabs 6-7,
     16.   Shortly thereafter, the agency filed a motion for sanctions or in the
     alternative to compel, citing the appellant’s “refusal to participate in the
     discovery process.” IAF, Tab 17. Although the appellant opposed the motion,
     IAF, Tab 19, the administrative judge granted it in part and ordered him to
     respond to the agency’s written discovery requests by April 28, 2023, and to sit
     for any re-noticed deposition. IAF, Tab 20.
                                                                                         3

¶4        On April 28, 2023, the appellant filed a pleading titled “Request to
     Withdraw” through the Board’s e-Appeal Online system, which stated, “This is
     my request to withdraw this appeal.” IAF, Tab 21. Thereafter, the administrative
     judge issued a notice of intent to dismiss the appeal, advising the appellant that
     withdrawing his appeal is an act of finality, and instructing the appellant to notify
     him by May 4, 2023, if he wished to pursue his appeal.          IAF, Tab 22.     The
     appellant did not respond. Therefore, on May 5, 2023, the administrative judge
     issued an initial decision dismissing the appeal as withdrawn, concluding that the
     appellant’s request was “clear, unequivocal, and decisive.” IAF, Tab 23, Initial
     Decision.
¶5        The appellant timely filed a petition for review. Petition for Review (PFR)
     File, Tab 1.   The agency has filed an opposition to the petition for review.
     PFR File, Tab 3.

                     DISCUSSION OF ARGUMENTS ON REVIEW
¶6        On review, the appellant does not challenge the administrative judge’s
     decision to grant his request to withdraw or otherwise argue that his request was
     in error.   PFR File, Tab 1 at 4-7.        Instead, he appears to challenge the
     administrative judge’s discovery rulings that predated his withdrawal request. Id.¶7        When an appellant directly petitions the full Board for review of an initial
     decision dismissing an appeal as withdrawn, the Board will treat the petition as a
     request to reopen his appeal. Lincoln v. U.S. Postal Service, 113 M.S.P.R. 486,
     ¶¶ 9-13 (2010). An appellant’s withdrawal of an appeal is an act of finality that
     removes the appeal from the Board’s jurisdiction.          Id., ¶ 7.    A voluntary
     withdrawal, however, must be clear, decisive, and unequivocal.         Id. Here, the
     record reflects, and the appellant does not dispute, that he unequivocally
     expressed his intent to withdraw the appeal when he submitted a pleading through
     the e-Appeal Online system informing the administrative judge that he wished to
     withdraw his appeal. IAF, Tab 21 at 3.
                                                                                           4

¶8         Absent unusual circumstances, such as misinformation or new and material
     evidence, the Board will not reinstate an appeal once it has been withdrawn.
     Lincoln, 113 M.S.P.R. 486, ¶ 9. However, the Board may relieve an appellant of
     the consequences of his decision to withdraw an appeal when the decision was
     based on misleading or incorrect information provided by the Board or the
     agency. Potter v. Department of Veterans Affairs, 116 M.S.P.R. 256, ¶ 7 (2011).
     The appellant has not alleged, nor do we find, that he relied upon misleading or
     incorrect information provided by the Board or the agency in deciding to
     withdraw his appeal.       Cf. id., ¶¶ 10-15 (excusing the appellant from the
     consequences of his decision to withdraw his appeal based on misinformation
     provided by the administrative judge regarding the scope of applicable Board
     remedies).
¶9         Accordingly, we find that the appellant has not established any basis for
     reinstating his appeal, and we affirm the initial decision.

                              NOTICE OF APPEAL RIGHTS 2
           You may obtain review of this final decision. 5 U.S.C. § 7703(a)(1). By
     statute, the nature of your claims determines the time limit for seeking such
     review and the appropriate forum with which to file.            5 U.S.C. § 7703(b).
     Although we offer the following summary of available appeal rights, the Merit
     Systems Protection Board does not provide legal advice on which option is most
     appropriate for your situation and the rights described below do not represent a
     statement of how courts will rule regarding which cases fall within their
     jurisdiction.   If you wish to seek review of this final decision, you should
     immediately review the law applicable to your claims and carefully follow all
     filing time limits and requirements. Failure to file within the applicable time
     limit may result in the dismissal of your case by your chosen forum.

     2
       Since the issuance of the initial decision in this matter, the Board may have updated
     the notice of review rights included in final decisions. As indicated in the notice, the
     Board cannot advise which option is most appropriate in any matter.
                                                                                        5

      Please read carefully each of the three main possible choices of review
below to decide which one applies to your particular case. If you have questions
about whether a particular forum is the appropriate one to review your case, you
should contact that forum for more information.

      (1) Judicial review in general . As a general rule, an appellant seeking
judicial review of a final Board order must file a petition for review with the U.S.
Court of Appeals for the Federal Circuit, which must be received by the court
within 60 calendar days of the date of issuance of this decision.               5 U.S.C.
§ 7703(b)(1)(A).
      If you submit a petition for review to the U.S. Court of Appeals for the
Federal   Circuit,   you   must   submit   your   petition   to   the   court    at   the
following address:
                              U.S. Court of Appeals
                              for the Federal Circuit
                             717 Madison Place, N.W.
                              Washington, D.C. 20439

      Additional information about the U.S. Court of Appeals for the Federal
Circuit is available at the court’s website, www.cafc.uscourts.gov. Of particular
relevance is the court’s “Guide for Pro Se Petitioners and Appellants,” which is
contained within the court’s Rules of Practice, and Forms 5, 6, 10, and 11.
      If you are interested in securing pro bono representation for an appeal to
the U.S. Court of Appeals for the Federal Circuit, you may visit our website at
http://www.mspb.gov/probono for information regarding pro bono representation
for Merit Systems Protection Board appellants before the Federal Circuit. The
Board neither endorses the services provided by any attorney nor warrants that
any attorney will accept representation in a given case.
                                                                                  6

      (2) Judicial   or   EEOC    review    of   cases   involving   a   claim   of
discrimination . This option applies to you only if you have claimed that you
were affected by an action that is appealable to the Board and that such action
was based, in whole or in part, on unlawful discrimination. If so, you may obtain
judicial review of this decision—including a disposition of your discrimination
claims —by filing a civil action with an appropriate U.S. district court ( not the
U.S. Court of Appeals for the Federal Circuit), within 30 calendar days after you
receive this decision.    5 U.S.C. § 7703(b)(2); see Perry v. Merit Systems
Protection Board, 582 U.S. 420 (2017). If you have a representative in this case,
and your representative receives this decision before you do, then you must file
with the district court no later than 30 calendar days after your representative
receives this decision. If the action involves a claim of discrimination based on
race, color, religion, sex, national origin, or a disabling condition, you may be
entitled to representation by a court-appointed lawyer and to waiver of any
requirement of prepayment of fees, costs, or other security.         See 42 U.S.C.
§ 2000e-5(f) and 29 U.S.C. § 794a.
      Contact information for U.S. district courts can be found at their respective
websites, which can be accessed through the link below:
      http://www.uscourts.gov/Court_Locator/CourtWebsites.aspx .
      Alternatively, you may request review by the Equal Employment
Opportunity Commission (EEOC) of your discrimination claims only, excluding
all other issues . 5 U.S.C. § 7702(b)(1). You must file any such request with the
EEOC’s Office of Federal Operations within 30 calendar days after you receive
this decision. 5 U.S.C. § 7702(b)(1). If you have a representative in this case,
and your representative receives this decision before you do, then you must file
with the EEOC no later than 30 calendar days after your representative receives
this decision.
      If you submit a request for review to the EEOC by regular U.S. mail, the
address of the EEOC is:
                                                                                      7

                            Office of Federal Operations
                     Equal Employment Opportunity Commission
                                  P.O. Box 77960
                              Washington, D.C. 20013

      If you submit a request for review to the EEOC via commercial delivery or
by a method requiring a signature, it must be addressed to:
                            Office of Federal Operations
                     Equal Employment Opportunity Commission
                                 131 M Street, N.E.
                                   Suite 5SW12G
                              Washington, D.C. 20507

      (3) Judicial     review   pursuant     to   the    Whistleblower      Protection
Enhancement Act of 2012 . This option applies to you only if you have raised
claims of reprisal for whistleblowing disclosures under 5 U.S.C. § 2302(b)(8) or
other protected activities listed in 5 U.S.C. § 2302(b)(9)(A)(i), (B), (C), or (D).
If so, and your judicial petition for review “raises no challenge to the Board’s
disposition of allegations of a prohibited personnel practice described in section
2302(b) other than practices described in section 2302(b)(8), or 2302(b)(9)(A)(i),
(B), (C), or (D),” then you may file a petition for judicial review either with the
U.S. Court of Appeals for the Federal Circuit or any court of appeals of
competent jurisdiction. 3   The court of appeals must receive your petition for
review within 60 days of the date of issuance of this decision.               5 U.S.C.
§ 7703(b)(1)(B).




3
   The original statutory provision that provided for judicial review of certain
whistleblower claims by any court of appeals of competent jurisdiction expired on
December 27, 2017. The All Circuit Review Act, signed into law by the President on
July 7, 2018, permanently allows appellants to file petitions for judicial review of
MSPB decisions in certain whistleblower reprisal cases with the U.S. Court of Appeals
for the Federal Circuit or any other circuit court of appeals of competent jurisdiction.
The All Circuit Review Act is retroactive to November 26, 2017. Pub. L. No. 115-195,
132 Stat. 1510.
                                                                                  8

      If you submit a petition for judicial review to the U.S. Court of Appeals for
the Federal Circuit, you must submit your petition to the court at the
following address:
                             U.S. Court of Appeals
                             for the Federal Circuit
                            717 Madison Place, N.W.
                             Washington, D.C. 20439

      Additional information about the U.S. Court of Appeals for the Federal
Circuit is available at the court’s website, www.cafc.uscourts.gov. Of particular
relevance is the court’s “Guide for Pro Se Petitioners and Appellants,” which is
contained within the court’s Rules of Practice, and Forms 5, 6, 10, and 11.
      If you are interested in securing pro bono representation for an appeal to
the U.S. Court of Appeals for the Federal Circuit, you may visit our website at
http://www.mspb.gov/probono for information regarding pro bono representation
for Merit Systems Protection Board appellants before the Federal Circuit. The
Board neither endorses the services provided by any attorney nor warrants that
any attorney will accept representation in a given case.
      Contact information for the courts of appeals can be found at their
respective websites, which can be accessed through the link below:
      http://www.uscourts.gov/Court_Locator/CourtWebsites.aspx .




FOR THE BOARD:                        ______________________________
                                      Gina K. Grippando
                                      Clerk of the Board
Washington, D.C.
